        Case 1:20-mc-00212-AJN Document 24-1 Filed 06/26/20 Page 2 of 3




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
                                                                             1/19/22
 In re Application of Benjamin Steinmetz for
 an Order to Take Discovery from Vale S.A.,                Case No. 20-mc-212-AJN
 Vale Americas Inc., Rio Tinto plc, and Rio
 Tinto Limited pursuant to 28 U.S.C. § 1782


 PROPOSED ORDER GRANTING MOTION OF VALE S.A. AND VALE AMERICAS
       INC. FOR LEAVE (I) TO FILE A REDACTED VERSION OF VALE’S
MEMORANDUM OF LAW IN OPPOSITION TO THE APPLICATION OF BENJAMIN
  STEINMETZ FOR AN ORDER TO TAKE DISCOVERY PURSUANT TO 28 U.S.C.
                 § 1782 AND (II) TO FILE UNDER SEAL THE
                 DECLARATION OF SAMUEL L. LEVANDER

       Upon the letter motion, dated June 26, 2020 (the “Motion”) of Vale S.A. and Vale

Americas Inc. (collectively, “Vale”) for entry of an order authorizing Vale to file a redacted

version of Vale’s Memorandum of Law in Opposition to the Application of Benjamin Steinmetz

(“Steinmetz”) for an Order to Take Discovery Pursuant to 28 U.S.C. § 1782 (the “Vale MOL”)

and to file the Declaration of Samuel L. Levander in Support of the Vale MOL (the “Levander

Declaration”) under seal; and the Court having determined that the legal and factual bases set

forth in the Motion establish just cause for the relief granted herein,


IT IS HEREBY ORDERED THAT:

       1.      The Motion is granted as set forth herein.

       2.      Vale is authorized to publicly file a redacted version of the Vale MOL and the

unredacted version under seal. To the extent such unredacted version has already been filed

under seal in the ECF system, it shall remain sealed. Such unredacted version of the Vale MOL

shall be made available only to Vale, Steinmetz, their respective counsel and the Court.

       3.      Vale is authorized to file the Levander Declaration under seal. To the extent the

Levander Declaration has already been filed under seal in the ECF system, it shall remain sealed.


                                                  1
        Case 1:20-mc-00212-AJN Document 24-1 Filed 06/26/20 Page 3 of 3




The Levander Declaration shall be made available only to Vale, Steinmetz, their respective

counsel and the Court.

       January 19
Dated: ____________, 2020
New York, New York 2022


                                     THE HONORABLE ALISON J. NATHAN
                                     UNITED STATES DISTRICT JUDGE




                                               2
